

Ortiz v State of New York (2022 NY Slip Op 01947)





Ortiz v State of New York


2022 NY Slip Op 01947


Decided on March 18, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 18, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, LINDLEY, CURRAN, AND WINSLOW, JJ.


1175 CA 20-01505

[*1]JOSUE ORTIZ, CLAIMANT-APPELLANT,
vSTATE OF NEW YORK, DEFENDANT-RESPONDENT. (CLAIM NO. 126292.) (APPEAL NO. 2.) 






MAGAVERN MAGAVERN GRIMM LLP, BUFFALO (EDWARD J. MARKARIAN OF COUNSEL), FOR CLAIMANT-APPELLANT.
LETITIA JAMES, ATTORNEY GENERAL, ALBANY (DUSTIN J. BROCKNER OF COUNSEL), FOR DEFENDANT-RESPONDENT. 


	Appeal from a corrected order of the Court of Claims (Michael E. Hudson, J.), entered July 13, 2020. The corrected order denied the motion of defendant for summary judgment. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Same memorandum as in Ortiz v State of New York ([appeal No. 3] — AD3d — [Mar. 18, 2022] [4th Dept 2022]).
Entered: March 18, 2022
Ann Dillon Flynn
Clerk of the Court








